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                  OA                     W PLEASANT AVE
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     SANDROCK RD
                                                                                                                                                                                                                     CLAY FILLMORE AVE                                                                                          HOLLAND RD
                                                                                                                                                                                                                          AVE
             RD




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                                     HUMBOLDT AVE
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         F




                                      ARGYLE AVE
        IF




                                                                                                                                                                                                                                                                                                                                                                    HARDPAN RD
      CL




                                                                                                                                                                                                                                                                                                                                                                                                                                                               ANGOLA BRANT RD




         CHESTNUT LN
   RE




                                                      UTIC
                                         REDWING ST
  O
 SH




        MIDDLE LN
            PORTER AVE
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  LONG BEACH LN
                                                         ST




SOUTH LN    DELEVAN AVE                                                                                                                 REEVES RD
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